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                     Exhibit 15
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Lippert, Caroline P.
From:                  Ben_Allums@laed.uscourts.gov
Sent:                  Tuesday, February 05, 2013 6:03 PM
To:                    Godfrey, Richard C.
Cc:                    James Roy; pjuneau@dheclaims.com; Sally Shushan (sally_shushan@laed.uscourts.gov);
                       Steve Herman
Subject:               Re: PSC-BP Settlement--Request for Informal Status


Rick,
I will pass your request on to Judge Barbier and let you know what he says.

-Ben


Benjamin S. Allums
Judicial Law Clerk
Chambers of the Hon. Carl J. Barbier
United States District Court, Eastern District of Louisiana
(504) 589-7525



From: "Godfrey, Richard C." <rgodfrey@kirkland.com>
To:   "Ben_Allums@laed.uscourts.gov" <Ben_Allums@laed.uscourts.gov>
Cc:   "Sally Shushan (sally_shushan@laed.uscourts.gov)"
            <sally_shushan@laed.uscourts.gov>, Steve Herman
            <SHERMAN@hhklawfirm.com>, James Roy <JIMR@wrightroy.com>,
            "pjuneau@dheclaims.com" <pjuneau@dheclaims.com>
Date: 02/05/2013 06:01 PM
Subject:    PSC-BP Settlement--Request for Informal Status



Dear Ben:

I am writing to ask whether the Court could set an informal status in
Chambers among the PSC, BP and Mr. Juneau concerning the BEL Compensation
Framework issue as soon as possible--either tomorrow, Thursday or Friday of
this week. In light of the Court’s January 30 e-mail, BP greatly would
appreciate an opportunity to review with the Court and other parties the
current status of the BEL issue, and receive the Court’s guidance on
possible next steps. Thank you very much for considering our request; I
look forward to hearing from you.

Respectfully,

Rick

Richard C. Godfrey, P. C.
Kirkland & Ellis LLP
300 North La Salle
Chicago, IL 60654
312-862-2391 DIRECT   | 312-862-2200 FAX
rgodfrey@kirkland.com

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